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10                                           Attorneys for Defendant
                                             Printify, Inc.
11
12                           UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
14                                 SAN JOSE DIVISION
15 PRINTFUL, INC., a Delaware                 Case No. 5:19-cv-07903-LHK
   corporation,
16                                            STIPULATION FOR ENTRY OF
                Plaintiff,                    PERMANENT INJUNCTION
17
          vs                                  Date Action Filed: December 2, 2019
18                                            Trial Date:        April 2, 2021
   PRINTIFY, INC., a Delaware
19 corporation; and DOES 1 through 10,
   inclusive
20
                Defendants.
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     2835/033175-0008
     14722509.1 a07/10/20
                                                              STIPULATION FOR ENTRY OF
     530\3526125.3                                               PERMANENT INJUNCTION
     DRAFT
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 1             Plaintiff Printful, Inc. (“Plaintiff” or “Printful”) and Defendant Printify, Inc.
 2 (“Defendant” or “Printify”) (collectively, the “Parties”), by and through their
 3 undersigned counsel, hereby stipulate to and respectfully move the Court to enter a
 4 permanent injunction (the “Injunction”) in the above-captioned action (the
 5 “Action”), as follows:
 6             NOW THEREFORE it is agreed and stipulated that:
 7             1.           Plaintiff released Version 1.2.8 of a shipping and tax calculation plugin
 8 for its WooCommerce integration (the “Printful Plugin”) on or about June 9, 2017,
 9 which was made publically available subject to an open source license agreement, the
10 GNU General Public License, Version 2 (“GPL”);
11             2.           Plaintiff filed its registration for the Printful Plugin on or about October
12 23, 2019, Registration No. TX 8-792-925;
13             3.           Defendant downloaded Plaintiff’s Printful Plugin and copied portions of
14 the publicly available code from Plaintiff’s Printful Plugin in the course of developing
15 version 1.0.0 of Defendant’s own shipping plugin for the WooCommerce integration
16 (the “Printify Plugin”). In doing so, Defendant failed to comply with certain terms of
17 the GPL;
18             4.           Sections 2(a) and 2(c) of the GPL require (1) anyone modifying files to
19 cause such modified files to carry a notice of the modification “and the date of any
20 change” (the “Modification Notice Requirement”); and (2) anyone developing a new
21 program based on a GPL-licensed program to provide a copyright notice with the
22 program including the author name (e.g. “Copyright (C) <year> <name of author>”)
23 (the “Copyright Notice Requirement”);
24             5.           Defendant did not comply with the Modification Notice Requirement or
25 the Copyright Notice Requirement of the GPL because it did not provide notice of
26 changes to, or a copyright notice for, the Printful Plugin identifying Plaintiff as the
27 author, and Defendant Printify therefore infringed Printful’s copyright in its plugin
28 software by not complying with the GPL;
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     530\3526125.3                                        -1-                   PERMANENT INJUNCTION
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 1             6.           On or about September 15, 2017, Defendant released Version 1.0.0 of
 2 the Printify Plugin;
 3             7.           On or about December 2, 2019, Plaintiff filed a Complaint in the within
 4 action against Defendant for copyright infringement in violation of Section 501 of the
 5 Copyright Act of 1976, 17 U.S.C. § 101 et. seq., false designation of origin and
 6 reverse passing off in violation of Section 43(a) of the Lanham Act (15 U.S.C. §
 7 1125(a)); breach of contract and of the implied covenant of good faith and fair dealing
 8 with respect to Plaintiff’s open-source licensed software and Defendant’s violation of
 9 the terms of the GPL related to version 1.0.0 of the Printify Plugin; unjust enrichment;
10 intentional interference with prospective economic advantage; unfair competition in
11 violation of Cal. Business & Professions Code § 17200 and the common law; and
12 declaratory relief;
13             8.           On or about January 24, 2020, Defendant moved to dismiss the claims
14 for false designation of origin and reverse passing off in violation of Section 43(a) of
15 the Lanham Act (15 U.S.C. § 1125(a)); intentional interference with prospective
16 economic advantage; and the unfair competition claims;
17             9.           As of March 2020, Defendant is no longer making version 1.0.0 of the
18 Printify Plugin available to the public;
19             10.          Defendant and each of its officers, directors, partners, agents, servants,
20 employees, attorneys, representatives, confederates, and all persons and entities
21 acting for with, by, through or under it, and any others within its control or
22 supervision, and all others in active concert or participation with the above, is
23 permanently enjoined and restrained from using Plaintiff’s open-source software
24 without complying with the GPL and/or the terms of any applicable license;
25             11.          The Parties are filing concurrently herewith a Stipulation of Voluntary
26 Dismissal and an accompanying Proposed Order;
27             12.          The Parties have had the opportunity to consult with legal counsel of
28 their choice and are fully informed and aware of the legal effect and consequences of
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 1 this Stipulated Injunction;
 2             13.          The Court shall retain jurisdiction over this matter for a period of one
 3 year following the date of dismissal of the Action for the purpose of enforcing this
 4 Injunction; and
 5             14.          Each party is to bear its own costs and fees.
 6
 7             IT IS SO STIPULATED.
 8
 9 Dated: July 10, 2020                                  RUTAN & TUCKER, LLP
                                                         MICHAEL D. ADAMS
10                                                       MEREDITH L. WILLIAMS
                                                         SARAH E. GILMARTIN
11
12                                                       By:         /Michael Adams/
                                                               Michael Adams
13                                                             Attorneys for Plaintiff
                                                               Printful, Inc.
14
15 Dated: July 10, 2020                                  HOPKINS & CARLEY
                                                         ALLONN E. LEVY
16                                                       CARY CHIEN
17
                                                         By:         /Allonn E. Levy/
18                                                             Allonn E. Levy
                                                               Attorneys for Defendant
19                                                             Printify, Inc.
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     530\3526125.3                                       -3-                    PERMANENT INJUNCTION
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 1                               Attestation Regarding Signature
 2             I, Meredith Williams, hereby attest pursuant to Local Civil Rule 5-1(i)(3) that
 3 I have obtained concurrence in the filing of this document from the other signatories
 4 to this document. I declare under penalty of perjury under the laws of United States
 5 of America that the foregoing is true and correct.
 6
 7 Dated: July 10, 2020                                 RUTAN & TUCKER, LLP
 8
     By:                                                /Meredith Williams/
 9                                                      Meredith Williams
                                                        Attorneys for Plaintiff
10                                                      Printful, Inc.
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     530\3526125.3                                -4-                    PERMANENT INJUNCTION
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